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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,                                       Case No. 1:18-cv-00950-LO-JFA

v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



                            PLAINTIFFS DEPOSITION DESIGNATIONS

            Pursuant to the Court’s July 22, 2019 Order Modifying the Pretrial Schedule (Docket No.

     223), Federal Rules of Civil Procedure 26(a)(3) and 32(a)(3), and the Local Rules, Plaintiffs

     Sony Music Entertainement, et al. (“Plaintiffs”) hereby submit their deposition designations for

     trial in the above-captioned matter as attached hereto in Exhibit A.

            Plaintiffs submit the designations attached hereto without waiving any of their rights.

     Plaintiffs respectfully reserve the right to amend or supplement these designations in response to

     any counter-designations provided by Defendants. Plaintiffs further respectfully reserve the right

     to amend or supplement these designations in light of any testimony inadvertently omitted from

     the current designations or which comes to Plaintiffs’ attention after this filing, and for which

     reasonable notice is given to Cox. Plaintiffs further respectfully reserve the right to object to

     Defendants’ use of any testimony in Plaintiffs’ designations on any appropriate grounds, and by

     including testminoy in its designations, Plaintiffs do not waive any objections to the admissibility

     of any testimony. Plaitniffs further respectfully reserve the following rights with respect to the

     desginated testimony: 1) to use some or none of the designated testimony at trial; 2) to

     supplement or amend the attached deposition designations in response to the Court’s rulings on
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 the pending or to be filed summary judgment motions, Daubert motions, or motions in limine;

 and 3) to use additional portions of depositions for impeachment or any other permissible

 purposes.



 Dated: September 18, 2019                           Respectfully submitted,

                                                     /s/ Scott A. Zebrak
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